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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

Hunter Killer Productions, Inc.,             )
                                             )       Case No: 19 C 3594
v.                                           )
                                             )       Chief Judge Ruben Castillo
Does 1 - 27                                  )



                                            ORDER

After a careful review of this recently filed complaint, plaintiff is authorized to proceed with
expedited discovery and issue subpoenas to determine the identity of the appropriate individual
defendants. In the meantime, the current Doe complaint will be dismissed without prejudice to
the filing of an appropriate amended complaint which actually names defendants that can be
properly joined together in one lawsuit. All discovery and third party subpoenas must be
complied with even though the original Doe complaint is dismissed without prejudice.




                                                     /s/____________________________
Dated: May 31, 2019                                          Chief Judge Ruben Castillo
